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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

   IN RE:                         :                     CHAPTER 7
                                  :
   ASCENSION AIR MANAGEMENT, INC, :                     CASE NO. 20-62473-PMB
                                  :
        Debtor.                   :


                                     REPORT OF SALE

            COMES NOW S. Gregory Hays, the Chapter 7 Trustee in the above-captioned

   matter, and files this Report of Sale pursuant to Bankruptcy Rule 6004(f), and shows the

   Court as follows:

                                                1.

            By Order entered on February 5, 2021 [Doc. No. 51], this Court authorized the

   Trustee to sell by public auction personal property of the estate known as a Cirrus Design

   Corp SR22T, Serial No. 0636, Registration No. N928CS (the “Airplane”).

                                                2.

            The Trustee held a public on-line auction of the Airplane, which concluded on

   March 24, 2021. The Airplane sold for $503,000.00 (“Purchase Price”) to Brendon

   Cassity/Professional Employee Services (“Purchaser”). Attached as Exhibit “A” is an

   invoice which lists the purchaser, item sold and the purchase price.

                                                3.

            The Trustee reports that he has received payment of the Purchase Price plus

   applicable sales taxes and has completed the delivery of the Airplane to Purchaser.
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         Respectfully submitted this 5th day of May, 2021.

                                                       /s
                                                    S. Gregory Hays
                                                    Chapter 7 Trustee
   Hays Financial Consulting, LLC
   2964 Peachtree Road, NW, Ste 555
   Atlanta, Georgia 30305
   (404) 926-0060
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                             Exhibit “A”
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                                CERTIFICATE OF SERVICE

          I, S. Gregory Hays, certify that I am over the age of 18 and that on this date, I
   served a copy of the foregoing Report of Sale by first class U.S. Mail, with adequate
   postage prepaid on the following persons or entities at the addresses stated and upon all
   the following persona or entities at the addresses stated:

   Office of the United States Trustee               Irvin J. Johnson
   362 Richard B. Russell Building                   DeKalb County Tax Commissioner,
   75 Ted Turner Drive, SW                           4380 Memorial Drive #100
   Atlanta, GA 30303                                 Decatur, GA 30032

   Aerial Specialty Financial, LLC,                  Ascension Air Management, Inc.
   c/o Brian P. Hall                                 2447 Field Way Drive
   Smith, Gambrell & Russell, LLP,                   Atlanta, GA 30319
   Promenade, Suite 3100
   1230 Peachtree Street, N.E.                       Michael D. Robl
   Atlanta, GA 30309                                 Robl Law Group LLC
                                                     Suite 250, 3754 LaVista Road
                                                     Tucker, GA 30084


          This 5th day of May, 2021.

                                                          /s S. Gregory Hays
                                                         S. Gregory Hays
                                                         Chapter 7 Trustee

   Hays Financial Consulting, LLC
   2964 Peachtree Road, NW, Ste 555
   Atlanta, Georgia 30305
   (404) 926-0060
